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          DON3■ D B=SHOP′           M.D
           SmWNEE WOMEN′ S                ′Ｐ
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           d/b/a ME140R工 AII                            OF
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                   Derendarlts.
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           granted      her to fl.I        her Fム rst AmerLded COmplaint and to adl

           additiOnatt party              fendants′ 3HA"NEE WOMEN′ S HEALTH and CAPE

           RADIOLoGY         ln*oon;   P C.




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                DONALD BISHOPr M・                             )



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                CAPE RAD耳 0■ OGY              ′ P.C.′         )
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                c KEtlB/ lP.C.,              fOF her MOtion to F■ le Fir6七            ￨詭   nded Complaint

                states;
                  .      1.       That di covery has dttsclo日 ed the existenC0 0f

                addition.lf           au          ′ SHAWNEE   WOMEN′ S HEALTH′ omp■ oyer of
                dofendan」         b。 .8.d            , M-D., and CAPE RADfOLOGY GROUP, E.C.t
                enployer of, def                    Scott Branhan, M.D., and plalntlfl wLshes
                tO amend thel 1   .
                                                     to confotm to this addltlonal,          evldence.

                      Wn口 RFTORE′ ゴ                      I prays this   CouEt   for   an Ordcr
                permttttlnF h'r t。          f± ■o    her Fi=st Dsrended Complaint-
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                  ONALD Bl,HOP′          M・                        )


                 SmWNEE WOMEN′ S J                                 )

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                 CAFE RAD■ OLOGY
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                        COMES NOW              plalntlff, by and through her attorneys EEEI!,
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                      田Fコ ′P,C.′               tor Count,I of her Flrst Arended Conpl.alnt
                 against the der                    ′ DONALD       BISHOP′ M.D.′ States:
                        1) That at                  timett herein mentioned′              the p■ Bintiff′
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                 Teresa A■ せhOff′                  a citizen and resident of the state of
                 11linols.
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                        2)       Fhat at aL]. tl,h6s heEEin honttoncd, dofendaat Donald
                 :土 ehop′      M・ D.′    Was a med{cal        doctot, llcenEed to practice $edlcine
                 in the state of             ェ            , wheD he aseumed, !,he care of p1alntiff,,
                 Teresュ ヽ■thoff.
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                     3)     That at        aLl tlmes'hereln ment5.oned, defendant Scott
              BrannanT      .D.′   Wa       a medlcal doctorr ltcenaed to plactlce
                          ド
              mediclne in the              七o   of    工■■土no13′ whei■ he a● 3med   the care Of
              plainl■ f]′   Teres,           thoffロ

                     4) IThat at all tlnea helelD nentlonedr defendant                  Shawnce

              wdren'u              a corpoDaul-on, authorized and dolng busLness
                          "Lr*,
              ln the Stpce of Ilnols, when they, by and ttrrough thelr ag'entE,
              servantsT.          s, nurses, physJ.ciana, and other healthcare
              provLdorsi a3sumed the care of plainttff,, Teresa Althoff,.

                    5) That at aLI t,i-ures hcreln mentloned, defendant Cape
                                 '.C. was a coEpolatJ-on/ authorized and doing
              bugine● s in the        of Illlnois, when they, by and through,
              thel.r agents,                     ,   eurployeear rrEre8!, physlclans., aad other
              healthcare pFov                   a●   suned the caFe Of PLaintユ ff′ TeroOa
              Althoff̀
                     6)Tttat at              tttmes herein mentioned′     defendant Southern
              Illlnois riospital           Se:rvlceg, d/b/a llenorial, Hospltal of
              carbondalC, rrgs         a   corporatlonr autho=lzed and dol-ng business Ln
              the statLe of    ェ■             r wh€n they, by and througtl thelr igents,
              selvantg, enpl                , nurEos, physicianEr and other hcalthcarc
              providerE, :agsumed the care of, plaintLf,f       t Teresa 7tIthoff,.
                     7) rhlat at           I tlncs hercin mentloned, the defandant, Donald
              B!-shcp, ru-1o., was         Bn tEent, apparent agent, servant or enployee



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                                                                         Southern
                of the dofendant′ Shawnee Women's Heal-th and def,endant

                Illin013 Medttca■                            d,/b/a Carbondale Menorial HosBltal'
                          8)That at                    tlmes hereln rnentionedr the defendant' Scott
                Brannan′ M.D.′                        an aEeht, aPParent agentr seEtrAnt or emtrlloyee
                          ndant′ Cape Rnd土 ●■ogy Group′
                of the d口 ●                                                   P.Ca and derendant
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                southern 疑1■ inoi3                           servlces dlbla Carboadale Mernorlal
                HOspital.￨
                          9) That On                   about NoVember    ■5′ 20■ 1′   Teresa A■ thOff

                undarWentl a                            procedure perfornred by ,Donald Bishop, M'D'r
                           ￨ ￨ :
                at Carbondale                           1 Hoepltal in Carbondale, Illlnols In
                carbondal!,                 rI          to renove a cyst ftrom her ovarlr during         r'rhlclr
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                          stgrrroLd colon was perforated and aFter whiCh an absCetts
                |er
                develoPed,
                           10) That on                 about No▼ ember 23′ 2011′ Tereョ a■ ■theff

                undenuene a                                  dralnagc proccdure pertoEmed by Scott
                Braman′ M.D. at                              .Ie Mcmorlal Hospital Ln Carbondale,
                iI■
                      linoキ s       during.           ch her iユ 土aC aFtery waS perf。 =ated.

                           11) lThat t                defendants′ ind土 ▼ユdua■ ■y aid by through itS

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                 of her Eirst                                     coEplalnt a5 and for paragraphs 1 through
                 and inc■ uding 12                               Count II of her Filst Anended Complalnt' '
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                             WHEREFORE′

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                                                                 plaintiff′ by and through hOr attOrneys′ Rコ EFE

                                                                 for Courlt 工I工 Of her FiFSt Amended COmplaint
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                     t    KBElEl,           8.c.,
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            allegations of                                          agraphs I through and includinE L2 of Count I
           'of her                            ￨




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            and LncludLnE 12                                           Count V of her FirSt Amended Compla■ nt.
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